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  MARK POLLARD

                   IN THE UNITED STATES DISTRICT COURT

                               DISTRICT OF HAWAII

  LIANE WILSON; and JOANNA                   CIVIL NO. 11-00538 LEK.BMK
  WHEELER, on behalf of themselves
  and on behalf of other females similarly   DEFENDANT MARK
  situated,                                  POLLARD’S ANSWER TO
                                             PLAINTIFFS’ COMPLAINT
              Plaintiffs,                    FILED JUNE 6, 2011;
                                             CERTIFICATE OF SERVICE
        vs.

  WYNDHAM WORLDWIDE
  CORPORATION; WYNDHAM
  VACATION OWNERSHIP, INC.;
  WYNDHAM VACATION
  RESORTS, INC.; MICHAEL
  JONAH; MARK POLLARD; TOM
  VIRAG; DOE I-X; and ROE
  BUSINESS ENTITIES I-X, inclusive,

              Defendants.
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                 DEFENDANT MARK POLLARD’S ANSWER
              TO PLAINTIFFS’ COMPLAINT FILED JUNE 6, 2011

        Comes now, Defendant MARK POLLARD (“Defendant”), by and through

  his undersigned counsel, and in response to the Complaint filed by Plaintiffs

  LIANE WILSON (“Wilson”) and JOANNA WHEELER (“Wheeler”) (collectively

  as “Plaintiffs”) on June 6, 2011 hereby answers and avers as follows:

                                   FIRST DEFENSE

        1.     The Complaint fails to state a claim upon which relief can be granted.

                                 SECOND DEFENSE

        2.     Defendant denies the allegations contained in paragraphs 1, 2, 3, 25,

  30, 31, 32, 33, 34, 35, 36, 37, 38, 41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 54,

  56, 57, 58, 59, 60, 61, 62, 67, 68, 71, 72, 73, 74, 76, 77, 78, 79, 80, 81, 82, 98, 99,

  100, 101, 102, 103, 104, 105, 106, 108, 109, 110, 111, 112, 113, 114, 116, 117,

  118, 121, 122, 123, 124, 125, 126, 127, 129, 130, 131, 132, 133, 134, 135, 136,

  137, 139, 140, 141, 142, 143, 144 and 145 of the Complaint.

        3.     Defendant admits the allegations contained in paragraphs 4 and 21 of

  the Complaint.

        4.     With respect to the allegations in paragraph 5 of the Complaint,

  Defendant admits that venue is proper. Defendant denies the remaining allegations

  contained in paragraph 5 of the Complaint.




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        5.     With respect to the allegations in paragraph 6 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        6.     With respect to the allegations in paragraph 7 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        7.     With respect to the allegations in paragraph 8 of the Complaint, on

  information and belief Defendant admits that Plaintiff Wilson was employed as a

  Sales Associate at Wyndham Vacation Resorts, Inc.’s (“WVR”) Bali Hai Villas

  location in Princeville, Kauai. Defendant is without knowledge or information

  sufficient to form a belief as to the truth or accuracy of the remaining allegations,

  and on that basis, denies them.

        8.     With respect to the allegations in paragraph 9 of the Complaint, on

  information and belief Defendant admits that Plaintiff Wheeler was employed by

  WVR as a Sales Associate at WVR’s Bali Hai Villas location in Princeville, Kauai.

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the remaining allegations, and on that basis, denies them.

        9.     With respect to the allegations contained in paragraph 10 of the

  Complaint, Defendant is without knowledge or information sufficient to form a




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  belief as to the truth or accuracy of the specific allegations related to Wyndham

  Worldwide Corporation (“WWC”), and on that basis, denies them.

        10.      With respect to paragraph 11 of the Complaint, the paragraph contains

  only a legal conclusion and, as such, no response is required, but otherwise,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        11.      With respect to the allegations in paragraph 12 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the specific allegations related to WWC, and on that basis,

  denies them.

        12.      With respect to the allegations in paragraph 13 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the specific allegations related to Wyndham Vacation

  Ownership, Inc. (“WVO”), and on that basis, denies them.

        13.      With respect to paragraph 14 of the Complaint, the paragraph contains

  only a legal conclusion and, as such, no response is required but otherwise,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        14.      With respect to the allegations in paragraph 15 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the



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  truth or accuracy of the specific allegations related to WVO, and on that basis,

  denies them.

        15.      With respect to the allegations in paragraph 16 of the Complaint,

  Defendant admits that Wyndham Vacation Resorts, Inc. (“WVR”) regularly

  transacts business in and has multiple facilities in the state of Hawaii but is without

  knowledge or information sufficient to form a belief as to the truth or accuracy of

  the remaining allegations relating to WVR, and on that basis, denies them.

        16.      With respect to paragraph 17 of the Complaint, the paragraph contains

  only a legal conclusion and, as such, no response is required but otherwise,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the remaining allegations relating to WVR, and on that basis,

  denies them.

        17.      With respect to the allegations in paragraph 18 of the Complaint,

  Defendant admits that WVR sells and finances vacation ownership interests and

  develops vacation ownership resorts but Defendant is without knowledge or

  information sufficient to form a belief as to the truth or accuracy of the remaining

  allegations relating to WVR, and on that basis, denies them.

        18.      With respect to the allegations in paragraph 19 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.



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        19.      With respect to the allegations in paragraph 20 of the Complaint,

  Defendant admits that Michael Jonah (“VP Jonah”) has been employed as a Vice

  President of Sales but is without knowledge or information sufficient to form a

  belief as to the truth or accuracy of the remaining allegations, and on that basis,

  denies them.

        20.      With respect to the allegations in paragraph 22 of the Complaint,

  Defendant admits that Defendant was employed as an Area Vice President and

  Vice President of Sales of the Princeville site and at the end of 2010, Defendant

  was relocated to WVR’s Waikiki site and assumed the position of Vice President

  of Sales of the Waikiki site.      Defendant denies the remaining allegations of

  paragraph 22.

        21.      With respect to the allegations in paragraph 23 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        22.      With respect to the allegations in paragraph 24 of the Complaint,

  Defendant admits that Tom Virag has been employed as a Director of Sales but is

  without knowledge or information sufficient to form a belief as to the truth or

  accuracy of the remaining allegations, and on that basis, denies them.

        23.      With respect to the allegations in paragraph 26 of the Complaint,

  Defendant denies he engaged in illegal actions. As to the remaining allegations in



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  paragraph 26, Defendant is without knowledge or information sufficient to form a

  belief as to the truth or accuracy of the allegations, and on that basis, denies them.

        24.    With respect to the allegations in paragraph 27 of the Complaint,

  Defendant denies he engaged in wrongful and/or illegal actions.             As to the

  remaining allegations in paragraph 27, Defendant is without knowledge or

  information sufficient to form a belief as to the truth or accuracy of the allegations,

  and on that basis, denies them.

        25.    With respect to the allegations in paragraph 28 of the Complaint,

  Defendant denies that he engaged in wrongful actions against Plaintiffs. As to the

  remaining allegations in paragraph 28, Defendant is without knowledge or

  information sufficient to form a belief as to the truth or accuracy of the allegations,

  and on that basis, denies them.

        26.    With respect to the allegations in paragraph 29 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        27.    With respect to the allegations in paragraph 39 of the Complaint,

  Defendant admits that Plaintiff Wilson was employed as a Sales Associate at

  WVR’s Princeville, Hawaii site but Defendant is without knowledge or

  information sufficient to form a belief as to the truth or accuracy of the remaining

  allegations, and on that basis, denies them.



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        28.    With respect to the allegations in paragraph 40 of the Complaint,

  Defendant admits that Plaintiff Wilson was a high performer and won some

  awards, including the Legend Award, the Top Performer of the Year, the Rookie of

  the Year, and the President’s Club and that one month her closing percentage was

  68% during one month. Defendant denies the remaining allegations contained in

  paragraph 40 of the Complaint.

        29.    With respect to the allegations in paragraph 53 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        30.    With respect to the allegations in paragraph 55 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        31.    With respect to the allegations in paragraph 63 of the Complaint,

  Defendant admits the following: 1) VP Jonah called Plaintiff Wilson into his office

  and informed her that she was being suspended; 2) VP Jonah stated that the

  directive had come from Defendant and Andrea Ward and that Plaintiff Wilson

  was to go home and not return to the premises; and 3) Plaintiff Wilson was put on

  suspension for four days. Defendant denies the remaining allegations of paragraph

  63 of the Complaint.




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        32.    With respect to the allegations in paragraph 64 of the Complaint,

  Defendant admits that VP Jonah contacted Plaintiff Wilson and requested that she

  return to the Princeville site to meet with him and admit that VP Jonah informed

  her that numerous customers had complained about her misrepresentations.

  Defendant denies the remaining allegations contained in paragraph 64 of the

  Complaint.

        33.    With respect to the allegations in paragraph 65 of the Complaint,

  Defendant admits that VP Jonah informed Plaintiff Wilson that the complaints

  against her would be investigated and that she remained suspended from work until

  October 4, 2009, when VP Jonah called her into his office and advised her that she

  would be separated from employment. Defendant denies the remaining allegations

  contained in paragraph 65 of the Complaint.

        34.    With respect to the allegations in paragraph 66 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        35.    With respect to the allegations in paragraph 69 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.




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        36.    With respect to the allegations in paragraph 70 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        37.    With respect to the allegations in paragraph 75 of the Complaint,

  Defendant admits that a portion of the Marketing Department Representatives’

  compensation system depended on the volume of qualified tours they were able to

  book for Sales Associates.       Defendant denies the remaining allegations of

  paragraph 75 of the Complaint.

        38.    With respect to the allegations in paragraph 83 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        39.    With respect to the allegations in paragraph 84 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        40.    With respect to the allegations in paragraph 85 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        41.    With respect to the allegations in paragraph 86 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.



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        42.    With respect to the allegations in paragraph 87 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        43.    With respect to the allegations contained in paragraph 88 of the

  Complaint, Defendant is without knowledge or information sufficient to form a

  belief as to the truth or accuracy of the allegations, and on that basis, denies them.

        44.    With respect to the allegations in paragraph 89 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        45.    With respect to the allegations in paragraph 90 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        46.    With respect to allegations in paragraph 91 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        47.    With respect to the allegations in paragraph 92 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.




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        48.    With respect to the allegations in paragraph 93 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        49.    With respect to the allegations in paragraph 94 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        50.    With respect to the allegations in paragraph 95 of the Complaint,

  Defendant is without knowledge or information sufficient to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        51.    With respect to the allegations in paragraph 96 of the Complaint,

  Defendant is without knowledge or sufficient information to form a belief as to the

  truth or accuracy of the allegations, and on that basis, denies them.

        52.    With respect to the allegations contained in paragraph 97 of the

  Complaint, Defendant is without knowledge or information sufficient to form a

  belief as to the truth or accuracy of the allegations, and on that basis, denies them.

        53.    With respect to the allegations contained in paragraph 107 of the

  Complaint, Defendant incorporates by reference his answers to each of the

  allegations referenced herein.




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        54.    With respect to the allegations contained in paragraph 115 of the

  Complaint, Defendant incorporates by reference his answers to each of the

  allegations referenced herein.

        55.    Defendant denies the allegations contained in the first paragraph 119

  of the Complaint.

        56.    Defendant denies the allegations contained in the first paragraph 120

  of the Complaint.

        57.    With respect to the allegations contained in the second paragraph 119

  of the Complaint, Defendant incorporates by reference his answers to each of the

  allegations referenced herein.

        58.    Defendant denies the allegations contained in the second paragraph

  120 of the Complaint.

        59.    With respect to the allegations contained in paragraph 128 of the

  Complaint, Defendant incorporates by reference his answers to each of the

  allegations referenced herein.

        60.    With respect to the allegations contained in paragraph 138 of the

  Complaint, Defendant incorporates by reference his answers to each of the

  allegations referenced herein




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                                  THIRD DEFENSE

        61.    At all relevant times hereto, Defendant followed the policies and

  practices in place to prevent and correct discrimination and retaliation in the

  workplace, and Plaintiffs unreasonably failed to take advantage of such preventive

  and corrective policies and practices provided to avoid the harm alleged in the

  Complaint.

                                FOURTH DEFENSE

        62.    Defendant properly exercised management discretion and took action

  for legitimate and nondiscriminatory business reasons.

                                  FIFTH DEFENSE

        63.    Defendant had good and sufficient causes and reasons for taking all

  adverse employment actions, if any, which may have affected Plaintiffs.

  Accordingly, Plaintiffs are barred from any recovery.

                                  SIXTH DEFENSE

        64.    Plaintiffs are precluded from asserting any rights alleged in the

  Complaint by the doctrines of unclean hands, waiver and/or estoppel.

                                SEVENTH DEFENSE

        65.    Damages allegedly sustained by Plaintiffs, if any, were caused by the

  actions of someone other than Defendant, over whom the Defendant had no

  authority or control, or by intervening or superseding cause.



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                                    EIGHT DEFENSE

        66.    Plaintiffs’ retaliation claims fail because Plaintiffs did not engage in

  protected conduct.

                                    NINTH DEFENSE

        67.    Plaintiffs have failed to mitigate their alleged damages and have failed

  to exercise due diligence in any efforts to mitigate their damages.

                                    TENTH DEFENSE

        68.    Plaintiffs are not entitled to recover the punitive damages alleged in

  the Complaint because Plaintiffs have not set forth a sufficient factual basis for the

  imposition of punitive damages.

                               ELEVENTH DEFENSE

        69.    Plaintiffs are not entitled to injunctive relief on any of their claims

  because there exist remedies of laws.

                                   TWELFTH DEFENSE

        70.    Plaintiffs are not entitled to a declaratory judgment or the injunctive

  relief prayed for in the Complaint because Plaintiffs failed to plead sufficient facts

  and/or meet the legal requirements which would entitle them to a declaratory

  judgment or injunctive relief.




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                              THIRTEENTH DEFENSE

        71.    The Complaint and each purported cause of action alleged therein fail

  to allege facts sufficient to allow recovery of attorneys’ fees from Defendant.

                             FOURTEENTH DEFENSE

        72.    The Complaint and each claim alleged therein are barred to the extent

  that the allegations therein are not substantially identical to the claims in the

  administrative complaint filed by Plaintiffs.

                               FIFTEENTH DEFENSE

        73.    Plaintiffs’ claims are barred, in whole or in part, by the applicable

  statutes of limitation.

                               SIXTEENTH DEFENSE

        74.    Plaintiffs’ claims are not properly brought as a class action and this

  matter does not meet the requirements for class certification.

        WHEREFORE, Defendant prays for the following relief:

        1.     The Complaint be dismissed with prejudice and Judgment be entered

  in favor of Defendant and against Plaintiffs on the Complaint;

        2.     Plaintiffs’ claims for damages, including general, compensatory,

  punitive and special damages, back and front pay, costs and attorney’s fees and any

  other requested relief, be denied;




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             3.   Defendant be awarded all costs and fees he has and will incur in

  defending against this Complaint; and

             4.   Whatever further relief this Court deems necessary, appropriate and/or

  proper.

             DATED:     Honolulu, Hawaii, October 17, 2011.

                                              IMANAKA KUDO & FUJIMOTO

                                              /s/ Wesley M. Fujimoto
                                              WESLEY M. FUJIMOTO
                                              RYAN E. SANADA
                                              Attorneys for Defendant
                                              MARK POLLARD
  604925.1




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                   IN THE UNITED STATES DISTRICT COURT

                               DISTRICT OF HAWAII

  LIANE WILSON; and JOANNA                     CIVIL NO. 11-00538 LEK.BMK
  WHEELER, on behalf of themselves
  and on behalf of other females similarly     CERTIFICATE OF SERVICE
  situated,

              Plaintiffs,

        vs.

  WYNDHAM WORLDWIDE
  CORPORATION; WYNDHAM
  VACATION OWNERSHIP, INC.;
  WYNDHAM VACATION
  RESORTS, INC.; MICHAEL
  JONAH; MARK POLLARD; TOM
  VIRAG; DOE I-X; and ROE
  BUSINESS ENTITIES I-X, inclusive,

              Defendants.


                            CERTIFICATE OF SERVICE

        I hereby certify that on this date I caused a true and correct copy of the

  foregoing document to be served on the following individuals to their respective

  addresses by the method noted below:

        Electronically served through CM/ECF system:

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        MICHAEL JONAH and TOM VIRAG


        DATED:     Honolulu, Hawaii, October 17, 2011.

                                        IMANAKA KUDO & FUJIMOTO

                                        /s/ Wesley M. Fujimoto
                                        WESLEY M. FUJIMOTO
                                        RYAN E. SANADA
                                        Attorneys for Defendant
                                        MARK POLLARD
        604925.1




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